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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 21mj77-SRW

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BRIAN GLENN BINGHAM

WAIVER OF PERSONAL APPEARANCE AND CONSENT a
TO CONDUCT INITIAL APPEARANCE AND SUBSEQUENT HEARINGS
BY VIDEO TELECONFERENCE

Due to outbreak of Coronavirus Disease 2019 (COVID-19), which has resulted in the

President of the United States’ declaring a national emergency and the Governor of Alabama’s

declaring a state public health emergency, and pursuant to Rule S(f) of the Federal Rules of

Criminal Procedure, the Defendant hereby waives the right to attend his initial appearance in

person and consents to having the initial appearance conducted by video teleconference.
Defendant further states he is aware that, pursuant to 18 U.S.C. § 3 142(f) and Rules 5, 10,

32 and/or 32.1 of the Federal Rules of Criminal Procedure, he has the right to, as applicable, a

detention hearing, arraignment, preliminary hearing, guilty plea, and or sentencing in person.

Defendant hereby waives the right to attend such hearings in person and consents to having any

such hearing conducted by vi eleconference.

ho June 23, 2021

 

 

 

 

DEFENDANT’S S{GHATURE DATE
/s/ Samuel Brooke June 23, 2021
ATTORNEY FOR DEFENDANT DATE

Samuel Brooke

Bar No. ASB-1172-L60B

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